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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

STEPHANIE M. URIE,                     )
          Plaintiff                    )      Civil Action
                                       )      File No. _________
                v.
                                       )
YALE UNIVERSITY,                       )
          Defendant                    )
                                       )

                                           COMPLAINT

       Plaintiff Stephanie M. Urie complains of defendant Yale University as follows.

                                     Jurisdiction and Parties

       1.       Plaintiff Stephanie Urie is a resident of Jeffersonville, Vermont.

       2.       On information and belief, Defendant Yale University (“Yale”) is a corporation

organized under the laws of Connecticut and with its principal place of business in New Haven,

Connecticut. On information and belief, Yale is a private institution of higher education that

accepts federal funding.

       3.       This action arises in part under the law of the United States, 20 U.S.C.A. §§ 1681

et seq. This Court has original jurisdiction over the subject matter of these claims pursuant to 28

U.S.C.A §§ 1331 and 1338.

       4.       This Court also has jurisdiction on grounds of diversity of citizenship, 28

U.S.C.A. § 1332.
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       5.         This Court has supplemental jurisdiction over the subject matter of plaintiff’s

common law claims pursuant to 28 U.S.C.A. § 1367, as those claims are so related to the federal

claims that they form part of the same case or controversy.

       6.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                         General Allegations

       7.         In 1996, Yale Divinity School (“YDS”), a graduate level professional school

within Yale, hired Gilbert I. Bond (“Bond”) as an associate professor of Theology and African

American Studies.

       8.         In his capacity as an associate professor, Bond was encouraged and expected by

YDS to engage in mentoring relationships with YDS students.

       9.         Upon information and belief, in or about 1997, YDS faculty members and

administrators became aware that Bond had entered into a sexual relationship with a female

student he was mentoring, that resulted in emotional, sexual and physical abuse inflicted by Bond

on the student.

       10.        Upon information and belief, from 1997 to the present, Yale had knowledge that

Bond had engaged in gender discrimination and sexual harassment towards female students, and

failed to take reasonable action to prevent the recurrence of gender discrimination and sexual

harassment.
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       11.     Plaintiff attended YDS beginning in the fall of 1999 and received her Master’s of

Divinity degree in May 2002.

       12.     Plaintiff was employed by Yale as a teaching fellow between September 2000 and

May 2003.

       13.     Plaintiff was mentored during her master’s program by Bond, who offered her

professional and spiritual guidance and encouragement, serving as a potentially invaluable

resource for references, job contacts and professional networking.

       14.     Upon information and belief, YDS faculty members and administrators were

aware of the mentoring relationship between Plaintiff and Bond, and some of those individuals

encouraged that relationship.

       15.     Upon information and belief, certain YDS faculty members and administrators

voiced concerns that Bond was using his relationship with Plaintiff to engage in gender

discrimination and sexual harassment.

       16.     Despite the concerns of YDS faculty members and administrators, YDS failed to

warn Plaintiff about Bond’s propensity to engage in gender discrimination and sexual

harassment. Bond was neither discouraged nor restrained by YDS or Yale from engaging in this

propensity.
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       17.     Prior to June 2002, Plaintiff was unaware of Bond’s propensity to engage in

gender discrimination and sexual harassment with female students whom he mentored.

       18.     In June 2002, Bond asked Plaintiff to meet him in Boston on the pretext of

discussing a professional opportunity for Plaintiff.

       19.     While in Boston, Bond manipulated Plaintiff by taking advantage of the trust he

had gained from her as her YDS mentor, as well as a YDS religious and academic professional,

and engaged in coercive sexual relations with Plaintiff.

       20.     Plaintiff reported Bond’s sexual coercion and gender discrimination in Boston to a

senior member of the YDS faculty in or about August 2002 and, through the autumn of 2002, to

members of both the YDS administration and faculty.

       21.     After receiving this further notice as to Bond’s sexual coercion and gender

discrimination, YDS administration and faculty did not act to protect Plaintiff or other YDS

female students, including those female students whom Bond was mentoring at the time.

       22.     Despite notice and concern about Bond’s behavior, YDS failed to enforce Yale’s

policy prohibiting sexual relations between faculty and students or to enforce its own policy,

which recognizes that such relations are “inherently coercive” and presumptively constitute

sexual harassment.
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        23.     Plaintiff filed a formal complaint against Bond with YDS in April 2003, and YDS

accepted that complaint.

        24.     During the 2002-2003 academic year, Bond repeatedly engaged in intimidating

behavior towards Plaintiff.

        25.     Despite Plaintiff’s formal complaint in April 2003 and her requests for reasonable

accommodations, Yale failed to take any measures to protect Plaintiff from Bond’s continued

presence on the YDS campus.

        26.     Plaintiff did not renew her teaching fellowship or return to Yale for the fall 2003

semester because of Bond’s continued presence on the YDS campus and her fear of Bond.

        27.     Plaintiff has also been precluded from participating in any of the many activities

offered by Yale to its alumni and to the general public by her justifiable fear of encountering

Bond at those events or on the Yale campus.

                          COUNT I: TITLE IX, FAILURE TO PROTECT

        28.     Plaintiff repeats and realleges each of Paragraphs 1- 27 above as though they were

set out in full herein.

        29.     Upon information and belief, Yale and YDS had actual knowledge of Bond’s

tendency towards violence, his gender discrimination and sexual harassment of female students.
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        30.     The faculty and administration of Yale and YDS knew that Bond had earlier

engaged in gender discrimination and sexual harassment with one or more female YDS students.

        31      Yale had a duty to protect Plaintiff from the known danger of gender

discrimination and sexual harassment by Bond.

        32.     Yale’s failure to protect Plaintiff caused her to be sexually abused by Bond in

June 2002.

        33.     Plaintiff has suffered physical, emotional, psychological and economic harm as

the result of Yale’s failure to protect her from Bond.

        34.     As a direct result of Yale’s failure to protect Plaintiff, she has, on the basis of

gender, been excluded from participation in, been denied the benefits of, and has been subjected

to discrimination under Yale’s educational and alumni programs as well as with respect to her

employment and opportunities for employment with Yale.

                      COUNT II: TITLE IX, HOSTILE ENVIRONMENT

        35.     Plaintiff repeats and realleges each of Paragraphs 1- 34 above as if they were set

out in full herein.

        36.     Yale’s failure to take adequate measures to protect Plaintiff from Bond on campus

created a hostile and intolerable educational and work environment.
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        37.     Plaintiff completed her teaching fellow responsibilities in the spring of 2003 but

was forced to decline additional employment and educational opportunities as a teaching fellow

for the 2003-2004 academic year because of her reasonable fear and apprehension created by the

hostile educational and work environment.

        38.     Plaintiff has suffered physical, emotional, psychological, educational, professional

and economic harm as the result of the hostile work and educational environment created by

Yale.



                            COUNT III: TITLE IX, RETALIATION

        39.     Plaintiff repeats and realleges each of Paragraphs 1-38 above as if they were set

out in full herein.

        40.     Bond has retaliated against Plaintiff in the workplace for her participation in the

sexual harassment complaint process.

        41.     Bond has threatened to take legal action against Plaintiff as a result of her

statements in filing the complaint and subsequent communications relating to the complaint.

.       42.     Upon information and belief, Yale and YDS were aware of Bond’s retaliatory

actions against Plaintiff, but Yale did not take effective action to halt Bond’s retaliation.
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          43.   Plaintiff has suffered physical, emotional, psychological, educational, professional

and economic harm as the result of Yale’s failure to take effective action to halt retaliation by

Bond against her.

     COUNT IV: FAILURE TO PROVIDE ADEQUATE AND PROMISED SEXUAL
                   HARASSMENT COMPLAINT PROCESS

          44.   Plaintiff repeats and realleges each of Paragraphs 1- 43 above as if they were set

out in full herein.

          45.   YDS agreed to extend its sexual harassment complaint procedure to Plaintiff in

response to her April 2003 complaint because sexual harassment complained of arose out of her

student-mentoring relationship with Bond and because Plaintiff remained at Yale as a teaching

fellow.

          46.   Yale has not provided Plaintiff with the complaint procedures promised to her and

on which she relied to her detriment in the decision to bring her complaint forward.

          47.   Yale has failed to implement and comply with its sexual harassment policies as

well as the specific procedures Yale promised to provide to Plaintiff.

          48.   As a direct result of Yale’s failure to provide the promised sexual harassment

complaint procedures to Plaintiff, she has been excluded from participation in, been denied the

benefits of, and has been subjected to discrimination under Yale’s educational and alumni
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programs as well as with respect to her employment and opportunities for employment with

Yale.

        49.     Plaintiff has suffered physical, emotional, psychological, educational, professional

and economic harm as the result of the hostile work and educational environment created by Yale

as well as by its failure to implement its sexual harassment policies and the sexual harassment

complaint process promised to her by the YDS administration.

                COUNT V: NEGLIGENT SUPERVISION AND RETENTION

        50.     Plaintiff repeats and realleges each of Paragraphs 1- 49 above as if they were set

out in full herein.

        51.     Upon information and belief, Yale and YDS had actual knowledge of Bond’s

propensity for engaging in gender discrimination and sexual harassment with respect to female

students and employees.

        52.     By the fall semester of 2002, YDS administrators and faculty members were

aware that Bond had engaged in gender discrimination and sexual harassment in the form of

coercive sexual relations with Plaintiff.

        53.     Given Yale’s knowledge of Bond’s behavior, it was reasonably foreseeable that

Bond would engage in gender discrimination and sexual harassment of students and employees.
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        54.     Yale consequently had a duty to remove Bond from his position, to prevent him

from having close contact with female students, teaching fellows, employees and alumna or to

implement other measures that would be effective in protecting female students, teaching

fellows, employees and alumna.

        55.     Yale breached that duty by retaining Bond as an associate professor without

limitation upon his activities and by continuing to encourage and expect him to mentor female

students and employees, including Plaintiff.

        56.     As a result of Yale’s negligent supervision and retention of Bond, Plaintiff has

suffered physical, emotional, psychological, educational, professional and economic harm.

          COUNT VI: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

        57.     Plaintiff repeats and realleges each of Paragraphs 1- 56 above as if they were set

out in full herein.

        58.     Yale knew or should have known that its actions in failing to remove Bond from

his position, failing to follow its sexual harassment complaint procedures with respect to

Plaintiff, and failing to provide Plaintiff with any reasonable accommodations after her complaint

against Bond involved an unreasonable risk of causing her to suffer emotional distress.

        59.     Yale knew or should have realized that the emotional distress suffered by Plaintiff

might result in illness or bodily harm.
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        60.     As a consequence of Yale’s conduct, Plaintiff has suffered emotional distress

resulting in illness.

                            COUNT VII: VICARIOUS LIABILITY



        61.     Plaintiff repeats and realleges each of Paragraphs 1-60 above as if they were set

out in full herein.

        62.     Bond committed intentional sexual assault when he engaged in coercive sexual

relations with Plaintiff.

        63.     Bond’s conduct occurred in the course and scope of his employment with Yale

and with a purpose to serve his employer.

64.     Yale is therefore vicariously liable for Bond’s intentional sexual assault of Plaintiff.

        WHEREFORE, Plaintiff Stephanie Urie demands judgment against Defendant Yale

University and an award of compensatory damages, punitive damages, attorney’s fees, and costs,

as well as all other relief to which she may be entitled, totaling in excess of $75,000.00 (Seventy-

Five Thousand and 00/100).
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                                  Demand for Jury Trial

    Plaintiff hereby demands trial by jury with respect to all claims so triable.

DATED:     Burlington, Vermont this         day of January, 2004.

                                           Respectfully submitted,


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                                   By:     __________________________________
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